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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       Cause No. 1:14-CR-35-HAB
                                             )
VICTOR BOYER                                 )

                                   OPINION AND ORDER

       Defendant was part of a violent, armed bank robbery. He now moves for a sentence

reduction under the compassionate release statute, arguing that changes in the law, COVID-era

prison conditions, and his rehabilitation are “extraordinary and compelling reasons” that shave

three and a half years off his sentence. The Government objects to the request. Defendant’s motion

is now fully briefed (ECF No. 477, 482, 486) and ready for ruling.

I.     Defendant’s Offense

       In September 2014, Defendant was part of a two-man bank robbery in Harlan, Indiana.

Defendant held the gun, approaching tellers and ordering them to fill a backpack with money lest

they “die today.” After getting cash from tellers at the counter and drive-thru (the vault had been

closed and locked), Defendant and his accomplice tried to flee, only to find the front doors of the

bank locked. Undeterred, Defendant shot the glass out of the doors, frightening a pair of elderly

customers then approaching the bank. Defendant and his accomplice were almost immediately

captured by law enforcement.

       Defendant was indicted on two counts: Armed Bank Robbery in violation of 18 U.S.C. §

2113 and Use of a Firearm During and in Relation to a Crime of Violence in violation of 18 U.S.C.

§ 924(c). He pleaded guilty to both counts. Judge Springmann sentenced Defendant to 37 months’
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imprisonment on the bank robbery count and an additional, consecutive, statutory-mandatory-

minimum 120 months’ imprisonment on the firearm count.

II.    Legal Analysis

       Generally, a court is statutorily prohibited from modifying a term of imprisonment once

imposed. See 18 U.S.C. § 3582(c). A handful of statutory exceptions exist, however, one of which

allows a court to grant an inmate compassionate release if the inmate meets certain requirements.

See 18 U.S.C. § 3582(c)(1)(A). Under this provision, a court may not modify a term of

imprisonment except that –

       (1) in any case --
       (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion
       of the defendant after the defendant has fully exhausted all administrative rights to
       appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf
       or the lapse of 30 days from the receipt of such a request by the warden of the
       defendant’s facility, whichever is earlier . . . after considering the factors set forth
       in section 3553(a) to the extent that they are applicable, . . . finds that—
       (i) extraordinary and compelling reasons warrant such a reduction …
       … and that such a reduction is consistent with applicable policy statements issued
       by the Sentencing Commission[.]
18 U.S.C. § 3582(c)(1)(A)(i).

       Because Defendant, not the Director of the BOP, filed the motion, Defendant must first

show that he has satisfied the statutory exhaustion requirement. The Government concedes that

Defendant has properly exhausted his remedies. (ECF No. 482 at 2).

A.     Intervening Change in the Law

       For his first claim of an extraordinary and compelling reason, Defendant points to the

United States Supreme Court’s decision in Dean v. United States, 581 U.S. 62 (2017). There, the

Supreme Court held that a sentencing court could consider the statutory mandatory minimums in

18 U.S.C. § 924(c) when calculating a total sentence and vary downward on the predicate violent


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crime. In Defendant’s case, that meant Judge Springmann could have sentenced him to 120 months

on the firearm count and a consecutive one day on the bank robbery count. Because Judge

Springmann lamented her inability to impose a lesser sentence pre-Dean1, Defendant asserts that

this Court should exercise its discretion post-Dean to fix the sentencing error.

         The primary dispute is whether the Court can consider Dean in determining whether

extraordinary and compelling reasons exist for compassionate release. The Government says no,

citing the Seventh Circuit’s opinion in United States v. Brock, 139 F.4th 462 (7th Cir. 2022),

holding that “[j]udicial decisions, whether characterized as announcing new law or otherwise,

cannot alone amount to an extraordinary and compelling circumstance allowing for a sentence

reduction.” Defendant claims that Brock was overruled by Concepcion v. United States, 142 S. Ct.

2389 (2022)2, and there is no legal obstacle to this Court considering Dean when ruling on his

motion.

         The case law debate has been mooted by the passage of time. On November 1, 2023, long-

adopted amendments to U.S.S.G. § 1B1.13 went into effect. Relevant here, the Guideline states:

         If a defendant received an unusually long sentence and has served at least 10 years
         of the term of imprisonment, a change in the law (other than an amendment to the
         Guidelines Manual that has not been made retroactive) may be considered in
         determining whether the defendant presents an extraordinary and compelling

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  The Government doesn’t challenge Defendant’s description of Judge Springmann’s sentencing statements. Although
the Court has no evidence to support Defendant’s description, it will assume the description is accurate.
2
  The Court disagrees that Concepcion expressly overruled Brock and similar Seventh Circuit holdings. In Concepcion,
the defendant moved for a sentence reduction under § 404 of the First Step Act, which explicitly made retroactive the
sentencing changes from the Fair Sentencing Act of 2010 and allowed defendants sentenced before the Fair Sentencing
Act to move for a sentence reduction. The defendant’s motion for sentence reduction was made directly under § 404,
and not under § 3582(c)(1)(A), so that case does not discuss extraordinary and compelling reasons. In Concepcion, all
parties agreed that the defendant was eligible for a sentence modification under § 404; the question for the Supreme
Court was whether, in calculating the modification, the district court could also consider non-retroactive changes to
the career offender enhancement. (The enhancement applied to Concepcion at the time of his original sentencing but
would not apply if sentenced today. 142 S. Ct. at 2397–98.) The Supreme Court held that the district court could
consider intervening changes in law or fact in exercising its discretion to reduce a sentence under § 404, because the
only limit on a district court's sentencing discretion is an explicit statement by Congress or the Constitution, and the
First Step Act “does not so much as hint that district courts are prohibited from considering evidence of rehabilitation,
disciplinary infractions, or unrelated Guidelines changes.” Id. at 2401. Concepcion does not opine on what district
courts may consider when assessing extraordinary and compelling reasons under § 3582(c)(1)(A).

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       reason, but only where such change would produce a gross disparity between the
       sentence being served and the sentence likely to be imposed at the time the motion
       is filed, and after full consideration of the defendant’s individualized
       circumstances.

U.S.S.G. § 1B1.13(b)(6). An individual hoping to benefit from an intervening change in the law

must meet the requirements of subsection (b)(6), because the Guideline adds that “[e]xcept as

provided in subsection (b)(6), a change in the law (including an amendment to the Guidelines

Manual that has not been made retroactive) shall not be considered for purposes of determining

whether an extraordinary and compelling reason exists under this policy statement.” Id. at (c).

       The problem for Defendant is that he does not meet the requirements of (b)(6). Defendant

was arrested on September 13, 2014. Assuming, as the Court does, that he has been continuously

held since then, he will not have served the required “10 years of the term of imprisonment” until

September of next year. At least for Defendant, and at least for now, neither Dean nor any other

changes in the law can constitute an extraordinary or compelling reason for compassionate release,

nor can it “be considered for purposes of determining whether an extraordinary and compelling

reasons exists.”

B.     COVID-19

       Courts in this Circuit were once forced to go through an extended analysis when COVID-

19 was raised as the extraordinary and compelling reason. That analysis is no longer necessary.

More than two years ago, the Seventh Circuit all but eliminated COVID-19 as a basis for

compassionate release under 18 U.S.C. § 3582(c)(1)(A). In United States v. Broadfield, 5 F.4th

801 (7th Cir. 2021), the court stated:

       Section 3582(c)(1)(A) was enacted and amended before the SARS-CoV-2
       pandemic, and it will continue to serve a beneficent function long after the
       pandemic ends. But for the many prisoners who seek release based on the special
       risks created by COVID-19 for people living in close quarters, vaccines offer relief
       far more effective than a judicial order. A prisoner who can show that he is unable

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           to receive or benefit from a vaccine still may turn to this statute, but, for the vast
           majority of prisoners, the availability of a vaccine makes it impossible to conclude
           that the risk of COVID-19 is an “extraordinary and compelling” reason for
           immediate release.

Id.

           Vaccination is available to Defendant: as of today, 577 inmates at FCI Englewood have

been fully vaccinated.3 COVID-19, then, cannot provide Defendant with the relief he seeks. This

is true whether Defendant characterizes the argument as simply COVID-19, the BOP’s pandemic

plan, or the BOP’s inadequate medical care.

           The Court concedes that other district courts, in other judicial circuits, have reduced

sentences on the theory that time served during COVID-19 was significantly more punitive. (ECF

No. 486 at 6-8) (collecting cases). But the Court is unaware of, nor can it find, any similar decisions

from this circuit. Even if this theory is not foreclosed by Broadfield, this Court is not inclined to

strike out in creating a new virus-related avenue for compassionate release.

C.         Rehabilitation

           Finally, Defendant points to his rehabilitation while incarcerated. He states that he has

taken “numerous classes, correspondence courses, and [is] mentoring others.” (ECF No. 477 at 6).

He also notes his participation in a residential veteran’s program and his work in a service dog

training program. While the Court has no evidence of any such classes, it will take Defendant’s

word for it.

           But as both Defendant and the Government agree, rehabilitation alone is not an

extraordinary or compelling reason for compassionate release. See 28 U.S.C. § 994(t). Defendant’s

efforts at self-improvement are laudable, and will assist him when he is released, but they are not

a basis for compassionate release.


3
    https://www.bop.gov/about/statistics/statistics_inmate_covid19.jsp

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D.       Defendant’s Reasons, Considered Together, do not Support Compassionate Release

         As discussed above, none of Defendant’s arguments are extraordinary or compelling on

their own. The Court has considered the reasons together and finds them no more worthy of

compassionate release. United States v. Newton, 996 F.3d 485, 489 (7th Cir. 2021) (finding that

proposed extraordinary and compelling reasons must be considered cumulatively). Unlike

comorbidities, Defendant’s proposed reasons do not interact in a synergistic fashion where the

whole is greater than the sum of its parts. Instead, the reasons are separate, with none particularly

close to meeting the statutory requirements. The Court finds no extraordinary or compelling

circumstances supporting release so Defendant’s motion must be denied.4

III.     Conclusion

         For these reasons, Defendant’s motion for sentence reduction (ECF No. 477) is DENIED.

Defendant’s motion to compel the Government to file a response to his motion for sentence

reduction (ECF No. 483) is DENIED as moot.

         SO ORDERED on December 26, 2023.

                                                      s/ Holly A. Brady
                                                      JUDGE HOLLY A. BRADY
                                                      UNITED STATES DISTRICT COURT




4
 Finding no extraordinary or compelling reasons for release, the Court need not consider the § 3553(a) factors. United
States v. Ugbah, 4 F.4th 595, 598 (7th Cir. 2021).

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